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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
 BASHAR SABBAGH,                       No. 24-cv-06742-JKS-CLW
            Plaintiff,
         v.
 INSURANCE AUTO AUCTIONS, INC.,
 et al.,                                      Return Date: August 5, 2024
            Defendants.




          REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
        MOTION TO DISMISS BROUGHT BY DEFENDANTS INSURANCE
         AUTO AUCTIONS, INC., GOLDEN STATE AUTOMARKET, LLC,
             OLEKSII OMELCHENKO AND DINA OMELCHENKO




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                                        LEGAL ARGUMENT
I.          THE COMPLAINT SHOULD BE DISMISSED WITH PREJUDICE
            A.         Plaintiff did not buy the Vehicle from GSA at an IAA salvage
                       auction in California, but rather from nonparty Massa Auto
                       in a private transaction in New Jersey.
            In their Motion, the Movants herein (Insurance Auto Auctions, Inc. (“IAA”),

Golden State Automarket, LLC (“GSA”), Oleksii Omelchenko (“Oleksii”), and Dina

Omelchenko (“Dina”)) show that Plaintiff’s claims all fail as a matter of law because

he did not buy the Vehicle1 at a September 2021 salvage auction as alleged in the

complaint, nor did he buy the Vehicle from any of the named Defendants, but

instead bought it from a nonparty auto dealer, Massa Auto Sales, LLC, in a private

transaction in October 2021. In fact, Plaintiff certified to this. See ECF #2-6 at

SABBAGH-6 (“Statement of Buyer”).

            In his Opposition, Plaintiff contends that he did indeed buy the Vehicle at the

June 2021 auction, and that he did so by (1) masquerading as Massa Auto, an LLC of

which he is a part-owner; (2) logging in to IAA’s online auction using Massa Auto’s

user id and password; (3) using his personal funds to buy the Vehicle in the name of

Massa Auto; (4) misusing Massa Auto’s California Resale Certificate to avoid paying

California sales tax; (5) fraudulently obtaining a New Jersey title in the name of

Massa Auto; and (6) transferring the New Jersey title from Massa Auto to himself.



1
    The term “Vehicle” refers to the salvage auto at the heart of this lawsuit, the 2020
    Mercedes Benz S560, VIN #WDDUG8DB2LA516999.


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            But, there are numerous problems with this. First, the Complaint says nothing

about the June 2021 auction but instead purports that Plaintiff bought the Vehicle at

a September 2021 auction, see Compl. (ECF #1-2) at ¶ 12. Second, the State of

California bars private individuals from buying salvage vehicles at auction, except in

very limited circumstances not applicable here. See Cal. Vehicle Code § 24007(a)(1),

§ 24007.5(a)(1).2 Third, Massa Auto certified to the State of California that all

purchases at IAA auto auctions in California would be purely for purposes of resale

in the regular course of business. See Massa Auto Resale Certificate (ECF #2-16) at

¶¶ 3-5. Fourth, misuse of a car dealer’s resale certificate is illegal in California and

amounts to sales tax evasion and fraud. See id. at ¶ 6; see also Cal. Revenue & Tax

Code § 6094.5. Plaintiff would be guilty of a misdemeanor and would also be liable

for $5,985.24 in back taxes and penalties.3 Fifth, Plaintiff’s own documents show


2
    Section 24007(a)(1) of the California Vehicle Code states:
                       No dealer or person holding a retail seller’s permit shall
                       sell a new or used vehicle that is not in compliance with
                       this code and departmental regulations adopted pursuant
                       to this code, unless the vehicle is sold to another dealer,
                       sold for the purpose of being legally wrecked or
                       dismantled, or sold exclusively for off-highway use.
    (emphasis supplied).
    Section 24007.5(a)(1) states:
                       No auctioneer or public agency shall sell, at public auction,
                       any vehicle specified in subdivision (a) of Section 24007,
                       which is not in compliance with this code.
3
    Based on the alleged $57,275 purchase price, see Compl. at ¶ 12, and the applicable
    9.5% sales tax in Los Angeles County, see https://www.salestaxhelper.com/our-
                                                                                         continued . . .




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that the June 2021 auction purchase was made using funds from another nonparty,

United Development of America, LLC. See Bank Statement (ECF #2-6) at SABBAGH-

007. Sixth, Plaintiff’s own documents conclusively prove that Massa Auto obtained a

N.J. title for the Vehicle on 8/12/21 and transferred the title (and the Vehicle) to

Plaintiff on 10/25/21, and that Plaintiff did not obtain title in his own name until

10/26/21. See N.J. Certs. of Title (ECF #2-6) at SABBAGH-003 to -006. Seventh,

Plaintiff certified to the State of New Jersey that he bought the Vehicle from Massa

Auto on 10/25/21, paying $61,000 plus $4,041.25 in New Jersey sales tax. See id. at

SABBAGH-006. This utterly refutes Plaintiff’s contention that he bought the Vehicle

from GSA on 9/6/21, paying $57,275, tax-free. Eighth, if Plaintiff’s aforesaid

certification was untrue, he would be guilty of a misdemeanor under New Jersey

law. See id.; see also N.J.S.A. § 2C:21-4.8(b)(1). Ninth, the IAA sales receipt confirms

that it was Massa Auto that bought the Vehicle from GSA at IAA’s June 2021 auction.

See Buyer Receipt (ECF #2-6) at SABBAGH-002. Tenth, the California DMV vehicle

transfer and reassignment form as well as IAA’s payment remittance and vehicle

pullout manifest all further confirm that it was Massa Auto, not Plaintiff, who

bought the Vehicle from GSA at IAA’s June 2021 auction. See ECF #2-12, -13, -14.

         In the face of this mountain of undisputed documentary evidence, Plaintiff’s

contention that it was he who bought the Vehicle from GSA at the IAA salvage


  locations/california/california-sales-tax-rates/, plus the statutory 10% tax
  surcharge.


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auction is demonstrably, unequivocally, and knowingly false.4

            Even if Massa Auto acted on Plaintiff’s behalf as straw purchaser, that does

not change the fact that Massa Auto was the legal buyer and owner of the Vehicle

until it sold or otherwise transferred the vehicle title to Plaintiff on 10/25/21, more

than four months after the IAA salvage auction — and that Plaintiff has no legal

rights against the Movants (nor against the other Defendants).

            The opinion in Vega v. CarMax Auto Superstores Cal., 2018 Cal. App. Unpub.

LEXIS 4546, 2018 WL 3216347 (Cal. Ct. App., July 2, 2018), petition for review denied,

2018 Cal. LEXIS 7153 (Cal., Sept. 19, 2018), neatly illustrates this point. In Vega,

plaintiff’s mother bought a used car for him to use. Three months later, there was an

accident, the likely cause of which was a faulty actuator and throttle body assembly.

CarMax reimbursed the mother for the car pursuant to California’s consumer fraud

laws. The son then sued CarMax on his own behalf, asserting claims for fraud,

negligence and violation of California’s unfair competition law. The core of his

complaint was that CarMax and its sales associate told the plaintiff and his mother




4
    One might wonder why, since Mr. Sabbagh asserts that he is one of the owners of
    Massa Auto, he did not arrange for Massa Auto to file this lawsuit. The answer
    seems to be that Mr. Sabbagh wanted to avoid having to pay an attorney to
    represent Massa Auto and additionally wanted to seek treble damages for
    consumer fraud. In any event, if Massa Auto had filed suit, its claims would be
    time-barred, see infra, and would also suffer from the other fatal deficiencies noted
    herein.


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that the car had passed a rigorous inspection when in fact no such inspection had

been performed. Id. at *1-2.

         The appellate court affirmed the dismissal of the complaint, explaining:

                    The fundamental flaw in plaintiff’s complaint is the one
                    identified by the trial court. Plaintiff cannot successfully plead
                    any of his claims because he was not the party who bought the
                    car. . . . Here, plaintiff did not enter into any transaction with
                    defendants. In the absence of any purchase or other
                    transaction, and in the absence of any legal authority
                    suggesting defendants in these circumstances have duties to
                    persons other than those with whom they transact business,
                    we can find no legal basis for plaintiff’s claims.

Id. at *9 (emphasis added).

         This current matter is no different. Even if Massa Auto used Plaintiff’s money

to buy the Vehicle for Plaintiff’s personal use — while committing sales tax fraud,

fraudulently misusing its California resale certificate and illegally bidding at the

salvage auction — it is Massa Auto who was the legal buyer and owner of the

Vehicle until four months after the auction. Because Plaintiff did not enter into any

transaction with any of the Defendants in his personal capacity, all of his claims

necessarily fail as a matter of law.

         In short, because Plaintiff was not the legal buyer at IAA’s salvage auction, all

of his claims fail as a matter of law and should be dismissed with prejudice and

costs, subject to the Movants’ right to seek frivolous litigation sanctions pursuant to




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New Jersey’s Frivolous Litigation Statute, N.J.S.A. § 2A:15-59.1.5

            B.         All claims arising from or related to IAA’s June 2021 salvage
                       auction are time-barred.
            Plaintiff contends that he used Massa Auto’s name and credentials to bid on

and purchase the Vehicle at IAA’s June 2021 salvage auction. If so, Plaintiff’s

participation in that auction was subject to IAA’s Auction Rules, ECF #2-15, which

impose a one-year limitations period for all claims relating to that auction:

                       F. TIME LIMIT TO PURSUE DISPUTE. You agree that
                       regardless of any statue or law to the contrary, any claim or
                       cause of action arising out of or related to the Buyer
                       Agreement or your relationship with IAA must be filed
                       within one (1) year after such claim or cause of action arose
                       or be forever barred.
Id. at 12.6

            C.         All fraud-related claims should be dismissed for failure to
                       plead with particularity under Rule 9(b).
            As discussed previously, “[a] plaintiff must also ‘identify the speaker of

allegedly fraudulent statements.’” Riachi v. Prometheus Grp., 822 F. App’x 138, 142 (3d



5
    See Lacroce v. M. Fortuna Roofing, Inc., 2017 U.S. Dist. LEXIS 12957, at *9 (D.N.J. Jan.
    31, 2017) (“Under any of the sanctions rules, the party seeking sanctions ‘must file
    an independent motion or application, separate from any substantive motion that
    party files.’”)(quoting Marenbach v. City of Margate, 942 F. Supp. 2d 488, 496
    (D.N.J. 2013)); but see Tuscano v. Newhouse, 2011 U.S. Dist. LEXIS 135932 (D.N.J. Nov.
    28, 2011) (granting N.J.S.A. § 2A:15-59.1 motion for sanctions together with Rule
    12(b)(6) motion to dismiss).
6
    The Auction Rules also provide for mandatory, binding arbitration and that any
    litigation must be venued in Cook County, Illinois. See Auction Rules at 11-12.


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 Cir. 2020) (quoting Klein v. Gen. Nutrition Cos., 186 F.3d 338, 345 (3d Cir. 1999)). A

 plaintiff may not take a shotgun approach and attribute the allegedly fraudulent

 conduct to “defendants”: “Rule 9(b) is not satisfied where a plaintiff . . . merely

 lumps the who, what, when, and where together. . . vaguely attribut[ing] the alleged

 fraudulent statements to ‘defendants’ [and] lump[ing] all the defendants together

 [without] specify[ing] who was involved in what activity.” Id. (citations omitted).

          Plaintiff’s opposition fails to address how the Complaint meets this standard.

 Plaintiffs’ claims are raised against all the “Defendants” generically, without

 specifying who is alleged to have done what.

          Plaintiff has also failed to address how there was any misrepresentation or

 inaccuracy regarding the Vehicle being in “Run and Drive” condition, when IAA’s

 Auction Rules clearly explain that this term does not mean or imply that the Vehicle

 could be driven cross-country — or even that the Vehicle was roadworthy:

                     7. Any statement that a vehicle runs or drives (such as through
                     an auction notation “run and drive”) means that the engine
                     started (either with or without a jump), both the forward and
                     reverse gears engaged and from the starting position, the
                     steering wheel made one full rotation to the right and one full
                     rotation to the left, all at the time of arrival at lAA’s facility. It
                     is not a representation or warranty that it will do so any time
                     thereafter or that the vehicle is roadworthy.
 See Auction Rules (ECF #2-15) at 9 (capitalization omitted, emphasis added).

          D.         Plaintiff fails to allege a consumer fraud claim.
          The Movants have explained that Plaintiff’s New Jersey Consumer Fraud Act

 (“NJCFA”) should be dismissed on multiple grounds. Plaintiff does not dispute that


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 basic choice of law principles require the application of California law, which

 axiomatically precludes Plaintiff’s invocation of the NJCFA.

          Also, Plaintiff states that he used Massa Auto’s login credentials to participate

 in the IAA salvage auction, and does not dispute that Massa Auto certified that all

 autos purchased at IAA’s salvage auction(s) in California were intended to be resold

 in the regular course of its business as a car dealer. See Massa Auto Resale Certificate

 (ECF #2-16) at ¶¶ 3-5. This completely refutes Plaintiff’s assertion that the salvage

 auction purchase was a consumer transaction.

          In addition, California law prohibits consumers from buying a salvage vehicle

 at auction. See Cal. Vehicle Code § 24007(a)(1), § 24007.5(a)(1). This further refutes

 any notion that the June 2021 salvage auction sale of the Vehicle was a “consumer

 transaction” within the meaning of the NJCFA.

          E.         Plaintiff concedes that his “bailment” claim must be
                     dismissed.
          The Movants have explained that the Complaint fails to allege the elements

 of a bailment claim; specifically, it fails to allege the existence of a bailment contract.

 Through silence, Plaintiff concedes that this claim should be dismissed.

          F.         Plaintiff concedes that amending the Complaint would be
                     futile.
          The Movants have explained that, although pro se plaintiffs are generally

 given an opportunity to amend their complaint even if they do not move to amend,

 this rule does not apply if amendment would be futile. Plaintiff does not address


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 this at all; he has not filed an amended complaint, nor requested an opportunity to

 amend, nor contested the Movants’ argument that amendment would be futile.

 Accordingly, the Complaint should be dismissed with prejudice.


 II.      PLAINTIFF HAS FAILED TO SHOW THAT ANY OF THE MOVANTS
          ARE SUBJECT TO PERSONAL JURISDICTION IN NEW JERSEY
          The Movants have shown that they are not subject to personal jurisdiction in

 New Jersey. Plaintiff concedes that general personal jurisdiction does not apply, but

 argues that the Movants are subject to specific personal jurisdiction because they

 “participated in the fraudulent auction and sale of a vehicle to a New Jersey

 resident”, which Plaintiff contends were “New Jersey-directed activities.”

          Plaintiff’s argument holds no water. IAA’s June 2021 salvage auction was held

 in California. All alleged representations, actions and omissions occurred in

 California. Passively allowing residents of New Jersey (and other states) to bid

 online does not amount to “New Jersey-directed activity.” Likewise, any online

 representations about the Vehicle were made to potential bidders in general,

 wherever they may be located, and were not specifically directed to New Jersey

 residents.

          Because Plaintiffs’ claims hinge on the notion that the Defendants

 collectively participated in fraud, the Calder “effect” test applies. See Calder v. Jones,

 465 U.S. 783 (1984). Under Calder, to establish personal jurisdiction over the

 Defendants Plaintiff must show, for each Defendant, that



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                     (1) The defendant committed an intentional tort;
                     (2) The plaintiff felt the brunt of the harm in the forum
                     such that the forum can be said to be the focal point of the
                     harm suffered by the plaintiff as a result of that tort;
                     (3) The defendant expressly aimed his tortious conduct at
                     the forum such that the forum can be said to be the focal
                     point of the tortious activity.
 Marten v. Godwin, 499 F.3d 290, 297 (3d Cir. 2007).

          Here, even if Plaintiff had alleged fraud with the required particularity and

 specifically alleged tortious conduct by each Defendant — which he fails to do —

 nothing in the Complaint even remotely suggests that any of the Defendants

 expressly aimed their tortious conduct — i.e., the alleged misrepresentations about

 the condition of the Vehicle — at New Jersey. Even under the most indulgent

 reading of the Complaint, nothing therein suggests that New Jersey was the focal

 point of the alleged misrepresentations.

          Plaintiff’s opposition entirely ignores Calder because Plaintiff has nothing to

 offer in this regard.

          Because the Complaint fails to set forth factual allegations showing that any

 of the Movants (or indeed any of the other Defendants) are subject to personal

 jurisdiction under the Calder test, the Complaint should be dismissed.


 III.     PLAINTIFF’S REQUEST FOR DISCOVERY SHOULD BE DENIED
          Plaintiff appears to argue that, with discovery, he will be able to cure the

 gross inadequacy of the Complaint. However, the Third Circuit has instructed that




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 discovery should be denied where the requesting party does not demonstrate with

 reasonable particularity that such discovery is likely to lead anywhere:

                     Jurisdictional discovery is not available merely because the
                     plaintiff requests it. If the plaintiff presents factual
                     allegations that suggest with reasonable particularity the
                     possible existence of the requisite contacts between [the
                     party] and the forum state, the plaintiff's right to conduct
                     jurisdictional discovery should be sustained. A plaintiff
                     may not, however, undertake a fishing expedition based
                     only upon bare allegations, under the guise of
                     jurisdictional discovery.
 Malik v. Cabot Oil & Gas Corp., 710 F. App’x 561, 565 (3d Cir. 2017) (emphasis added,

 citations and quotation marks omitted), cited by N.J. Mfrs. Ins. Grp. v. Daihatsu

 Industria E Comercio De Moveis E Aparelhos Electricos Ltda, 2021 U.S. Dist. LEXIS

 209280 (D.N.J. Oct. 29, 2021).

          In Basse v. Bank of Am., N.A., 2023 U.S. Dist. LEXIS 54434 (D.N.J. Mar. 29, 2023),

 the district court denied the plaintiffs’ request for jurisdictional discovery because

 they “fail[ed] to make any allegations which show that [their] alleged injuries were

 caused by Defendant’s activities within New Jersey,” and therefore “fail[ed] to meet

 their ‘required threshold showing’ that they are entitled to jurisdictional discovery.”

 Id. at *21-22 (citing Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 456 (3d Cir. 2003)).

          This case is no different. No amount of discovery is going to enable Plaintiff to

 demonstrate that he purchased the Vehicle from GSA at an IAA salvage auction. The

 California DMV vehicle transfer and reassignment form, ECF #2-12, together with




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 the New Jersey Certificates of Title, ECF #2-6 at SABBAGH-03 to -06, conclusively

 demonstrate that the true purchaser at auction was Massa Auto.

          Likewise, no amount of discovery is going to enable Plaintiff to demonstrate

 that New Jersey was the focal point of any of the Defendants’ purportedly

 fraudulent online misrepresentations.

          Plaintiff’s request for discovery is a plainly futile delay tactic that would only

 result in a palpable waste of time and resources. Plaintiff’s request should be

 denied.


                                        CONCLUSION
          For all the reasons set forth in the Movants’ opening and reply briefs, the

 Complaint fails to state a claim within the meaning of Rule 12(b)(6), fails to satisfy

 the stringent particularity required under Rule 9(b), and should be dismissed with

 prejudice. Alternatively, all claims against the Movants should be dismissed under

 Rule 12(b)(2).


                                                         Respectfully submitted,


  Date: July 25, 2024                                   /s/ Jonathan R. Miller, Esq.




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